Case 20-32181-KLP             Doc 798      Filed 08/17/20 Entered 08/17/20 15:44:44                   Desc Main
                                          Document     Page 1 of 26



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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

 ------------------------------------------------------------ X
                                                                :
 In re                                                          :            Chapter 11
                                                                :
 CHINOS HOLDINGS, INC., et al.,                                 :            Case No. 20-32181-KLP
                                                                :
                             Debtors.1                          :            (Jointly Administered)
                                                                :
  ------------------------------------------------------------ X

                     OBJECTION OF DELOITTE CONSULTING LLP AND
                DELOITTE TAX LLP TO CONFIRMATION OF AMENDED JOINT
                  PREARRANGED CHAPTER 11 PLAN OF REORGANIZATION
                 OF CHINOS HOLDINGS, INC. AND ITS AFFILIATED DEBTORS

            Deloitte Consulting LLP (“Deloitte Consulting”) and Deloitte Tax LLP (“Deloitte Tax,”

 and collectively, “Deloitte”), by and through their undersigned counsel, hereby submit this

 objection (this “Objection”) to the confirmation of the Amended Joint Prearranged Chapter 11

 Plan of Reorganization of Chinos Holdings, Inc. and Its Affiliated Debtors [Docket No. 706] (the


            1
           The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A,
 Inc. (3301); Chinos Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group,
 Inc. (4486); J. Crew Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J.
 Crew Inc. (6360); J. Crew International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609);
 J. Crew Brand Holdings, LLC (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC
 (1647); J. Crew Brand Corp. (1616); J. Crew Domestic Brand, LLC (8962); and J. Crew International
 Brand, LLC (7471). The Debtors’ corporate headquarters and service address is 225 Liberty St., New York,
 NY 10281.


 19138401
Case 20-32181-KLP         Doc 798     Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                     Document     Page 2 of 26



 “Plan”) filed by the above-captioned debtors and debtors-in-possession (the “Debtors”).2 In

 support of this Objection, Deloitte respectfully states as follows:

                                  PRELIMINARY STATEMENT

            1.   The Plan violates both the letter of the Bankruptcy Code and several of the

 Bankruptcy Code’s bedrock principles, including the right of creditors to vote on a plan, the

 absolute priority rule and equality of distribution among creditors of equal priority. The Plan is

 based on an understated valuation that will likely pay secured creditors more than in full to the

 detriment of unsecured creditors, and it discriminates unfairly against holders of Class 6-B. Worse

 yet, the Plan is built on a classification structure that disenfranchises and suppresses the vote of

 Other General Unsecured Claims in order to ensure acceptance of the Plan by that class and to

 avoid compliance with the Bankruptcy Code’s cram down provisions. In light of its many

 deficiencies, the Plan should not be confirmed.

            2.   First, the classification structure alone should cause the Plan to fail. Combining

 into one class the $625 million of purported Term Loan Deficiency Claims (on which any recovery

 is being waived) with Other General Unsecured Claims constitutes impermissible gerrymandering

 and undermines the fundamental right of creditors to cast a meaningful vote. The Term Loan

 Deficiency Claims and the Other General Unsecured Claims are not “substantially similar.” The

 holders of Other General Unsecured Claims – trade vendors, landlords and service providers – are

 afforded only their Class 6-B recoveries on account of their claims and thus are motivated to

 achieve at least a reasonable recovery for that class. The Term Lenders – the Debtors’ senior

 secured lenders – are waiving recoveries on the Term Loan Deficiency Claims and are not even




            2
           Except as otherwise provided herein, capitalized terms used herein but not defined herein shall
 have the meanings ascribed to such terms in the Plan.


 19138401                                           2
Case 20-32181-KLP        Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44              Desc Main
                                   Document     Page 3 of 26



 participants in the class. Their recoveries come from another source – Class 4. Moreover, because

 the Term Lenders will hold the majority of the equity in the Reorganized Debtors, they are

 motivated to have the Debtors pay as little as possible to the holders of Other General Unsecured

 Claims. Yet despite these differences, the Plan would permit the Term Lenders likely to control

 the Class 6-B vote – an absurd and unfair result.

            3.   The Term Loan Deficiency Claims are also dissimilar from the Other General

 Unsecured Claims because they do not actually exist. They are the product of a valuation that is

 flawed and that understates the Debtors’ value, potentially by $1 billion. The Committee has filed

 a motion to determine that the Term Loan Deficiency Claims are oversecured, based on a total

 enterprise value of approximately $2.94 billion. At that value, not only are the Term Lenders

 oversecured, holders of Other General Unsecured Claims are entitled to full payment. Because

 the Term Lenders have no deficiency claims, they cannot be classified together with, and have a

 right to overwhelm the vote of, the holders of valid unsecured claims in Class 6-B.

            4.   This classification structure, coupled with the “deathtrap” that reduces Class 6-B

 recoveries to just $1 million if the class rejects, can only have been intended to manipulate and

 suppress voting. The Term Lenders have no economic interest in Class 6-B, yet they will be

 allowed to put their thumbs heavily on the scale for voting purposes, leaving the other holders of

 Class 6-B claims disenfranchised. 3

            5.   Importantly, the Plan’s success depends on this gerrymandering and manipulation.

 If Class 6-B were to reject the Plan – a result that would have been automatic had the Plan provided

 zero recoveries to Class 6-B, rather than de minimis recoveries – the Debtors would be required to

 satisfy the cram-down provisions of section 1129(b) of the Bankruptcy Code, which they cannot

 do. This disenfranchisement and gerrymandering should be rejected.




 19138401                                            3
Case 20-32181-KLP         Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44               Desc Main
                                    Document     Page 4 of 26



            6.   Second, the Plan should fail under section 1129(b)(1) because it unfairly

 discriminates against the holders of Other General Unsecured Claims. The discrimination is not

 the least bit subtle. Although Class 6-A and 6-B claims are identical both legally and in terms of

 the nature of the business relationships with the Debtors that gave rise to such claims, holders of

 Class 6-A claims are projected to recover potentially as much as 100 times the recovery proposed

 for Class 6-B by percentage. The only difference is that the Debtors have chosen to confer this

 highly privileged status on holders of Class 6-A claims, ostensibly in exchange for those holders

 continuing to do business with the Debtors. But it is far from clear that this discrimination is

 necessary to achieve a successful reorganization, and this privilege was never offered to holders

 of Class 6-B claims, many of which – including Deloitte – would no doubt have been willing to

 consider doing business with the Reorganized Debtors on appropriate terms.

            7.   Finally, the Plan fails under Section 1129(b)(1) because it is not fair and equitable.

 The fair and equitable test incorporates another fundamental bankruptcy concept – the absolute

 priority rule – over which the Plan runs roughshod. Under the absolute priority rule, no junior

 class is to receive recovery until senior classes have been paid in full. A well-settled corollary is

 that no senior class is entitled to receive payment more than in full. Because Plan appears to

 provide the Term Lenders with recoveries worth more than 100% of their claims, the Plan fails the

 fair and equitable test and should not be confirmed.

            8.   In the event the Court is inclined to confirm the Plan, the allocation of the

 recoveries, by Debtor, in Class 6-B appear to be arbitrary and put creditors at risk of under or

 overpayment depending the Debtor(s) at which their Class 6-B claims arise. The Debtors should

 be required to reallocate the actual cash figures during the claim resolution process to ensure fair




 19138401                                          4
Case 20-32181-KLP           Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44            Desc Main
                                      Document     Page 5 of 26



 distributions to holders of claims, regardless of the Debtor or Debtors against which those claims

 arose, recognizing that claims against multiple Debtors must be preserved.

                                           BACKGROUND

 A.         Deloitte’s Claims.

            9.     As of the Petition Date, the Debtors owed Deloitte Consulting in excess of $24

 million and Deloitte Tax approximately $4.5 million. Deloitte’s unpaid claims relate to consulting

 and tax services provided in connection with the Debtors’ proposed IPO of its Madewell business

 line.

 B.         Summary of the Debtors’ Defective Plan.

            10.    The Debtors filed the Joint Prearranged Chapter 11 Plan of Reorganization of

 Chinos Holdings, Inc. and Its Affiliated Debtors [Docket No. 247] (the “Original Plan”) on

 May 18, 2020. The Debtors filed revised versions of the Original Plan reflecting “technical

 changes” on June 11, 2020 [Docket No. 468] and on June 24, 2020 [Docket No. 540]. The Debtors

 then filed the Plan, which contained additional modifications, on August 10, 2020.

            11.    Under the Plan, the holders of the Debtors’ approximately $2 billion in prepetition

 secured debt will receive all of the New Common Equity issued on the Effective Date remaining

 after distributing the Backstop Premium, the New Equity Allocation (which is also being

 distributed to certain of the secured lenders), and any other New Common Equity distributed

 pursuant to the Plan, subject to dilution. See Plan § 4.4-4.5. Included in the approximate $2 billion

 in prepetition secured debt are the claims of the Term Lenders, totaling $1.34 billion. See

 Disclosure Statement for Amended Joint Prearranged Chapter 11 Plan of Reorganization of

 Chinos Holdings, Inc. and Its Affiliated Debtors [Docket No. 707] (the “Disclosure Statement”) at

 14.




 19138401                                           5
Case 20-32181-KLP          Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44              Desc Main
                                     Document     Page 6 of 26



            12.   The Plan divides claims into twelve classes. See Plan § 3.3. Of particular relevance

 here, Class 4 includes the Term Loan Secured Claims of the Term Lenders. See Plan § 4.4(a).

 Under the Plan, the Debtors propose to allow the Term Loan Secured Claims at an aggregate

 amount of $716,645,605. See id. § 4.4(b). In exchange for the Term Loan Secured Claims, the

 Term Lenders have agreed to accept 76.5% of the New Common Equity, subject to dilution as

 described in the Plan. See id. § 4.4(c).

            13.   The Plan also separates general unsecured claims into two classes: Class 6-A for

 “Ongoing Trade Claims” and Class 6-B for “Other General Unsecured Claims.” See id. § 3.3.

 However, despite the parties receiving distributions in both classes of general unsecured claims

 being substantially similar in legal rights and in the nature of the relationship with the Debtors that

 gave rise to the claim, the Debtors propose to afford those claims widely disparate treatment under

 the Plan.

            14.   The Plan defines Class 6-A Ongoing Trade Claims as parties that, within 30 days

 of the Petition Date, “executed a trade agreement that expressly designates such party as a holder

 of an Ongoing Trade Claim.” See id. at § 1.102. Under the Plan, holders of Class 6-A Ongoing

 Trade Claims will share a cash distribution pool of $71,000,000, resulting in a projected

 distribution of 50%. See id. at § 4.6(b); Disclosure Statement at p. 5. Notably, under the Original

 Plan, the proposed cash distribution pool to holders of Ongoing Trade Claims was $50,000,000,

 resulting in a $21 million increase in the cash earmarked for Class 6-A under the Plan. Original

 Plan § 4.6(b).

            15.   The Plan designates all general unsecured claims other than Ongoing Trade Claims

 as Class 6-B Other General Unsecured Claims. See id. at § 1.104. The Plan specifically includes

 Term Loan Deficiency Claims, which are the purported unsecured deficiency claims of the Term




 19138401                                          6
Case 20-32181-KLP           Doc 798     Filed 08/17/20 Entered 08/17/20 15:44:44                   Desc Main
                                       Document     Page 7 of 26



 Lenders arising under section 506(a) of the Bankruptcy Code. See id. at § 1.137. The Debtors

 purport to value the Term Loan Deficiency Claims at more than $625 million.

            16.   While the Term Lenders are obligated to vote their hundreds of millions of

 purported Class 6-B claims in favor of the Plan, they will not receive any distribution on account

 of such claims and thus have no stake in the class. See id. at § 4.7(b).3 The Debtors have estimated

 that the value of the remaining Allowed Other General Unsecured Claims will be approximately

 $189.4 million. See Disclosure Statement at pp. 6-7 (adding the estimated allowed amount for

 Class 6-B at each of the Debtors).4 Accordingly, because the Term Lenders must vote the Term

 Loan Deficiency Claims in favor of the Plan, Class 6-B will almost certainly be found to have

 accepted the Plan, at least with respect to the amount element.

            17.   The Plan calls for holders of Class 6-B claims to share a cash pool of $3,000,000,

 but only if Class 6-B votes to accept the Plan. If holders of Class 6-B claims vote to reject the

 Plan, the Plan contains a “deathtrap” that will reduce the distribution pool to $1,000,000. See Plan

 at § 4.7(b). While the Debtors increased the cash distribution pool allocated to Class 6-A by $21

 million between the filing of the Original Plan and the Plan, the Debtors made no adjustment to

 the cash distribution pool allocated to Class 6-B. Moreover, while holders of Class 6-A claims are

 projected to recover 50% on account of their claims, holders of Class 6-B claims are projected to

 receive a distribution of less than 1.6% on account of their claims, even after the Term Lenders

 waive whatever Term Loan Deficiency Claims they purport to hold and even assuming the holders

 of Class 6-B claims at each of the Debtors votes to accept the Plan. See Disclosure Statement at



            3
            According to the Disclosure Statement, the holders of Term Loan Claims are foregoing their
 distribution of their purported general unsecured claims, the Term Loan Deficiency Claims, “[a]s a gift” to
 holders of Other General Unsecured Claims (Disclosure Statement at 2 n.7).
            4
           These estimates may be incorrect, as it is not clear whether they reflect that certain creditors may
 have claims against more than one Debtor.


 19138401                                              7
Case 20-32181-KLP         Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44              Desc Main
                                    Document     Page 8 of 26



 pp. 6-7. This is true even though the Other General Unsecured Claims rank pari passu with the

 holders of Ongoing Trade Claims and, with the exception of the Term Loan Deficiency Claim, are

 similar in nature – i.e., all unsecured claims incurred in the operation of the Debtors’ business.

            18.   Because Deloitte was not offered the opportunity to enter into a trade agreement

 with the Debtors, its claims will be treated as Class 6-B Other General Unsecured Claims and will

 be entitled to merely a nominal recovery – vastly less than the other similarly situated general

 unsecured creditors in Class 6-A will receive.

 C.         Committee Valuation Motion.

            19.   On August 3, 2020, the Committee filed the Motion Of The Official Committee Of

 Unsecured Creditors For An Order: (I) Determining, Pursuant To Section 506(a)(1) Of The

 Bankruptcy Code And Bankruptcy Rule 3012, That The Term Loan Creditors Are Oversecured

 And There Are No Term Loan Deficiency Claims; (II) To The Extent There Are Any Such

 Deficiency Claims, Determining Pursuant To Bankruptcy Rule 3013, That Such Claims Are

 Improperly Classified In Class 6-B Under The Debtors’ Plan Of Reorganization; And

 (III) Designating, Pursuant To Section 1126(e) Of The Bankruptcy Code, The Term Loan

 Deficiency Claim Holders’ Votes As Not In Good Faith And Not Counting Any Votes Of Such

 Claimants In Determining Acceptances By Class 6-B [Docket No. 677] (the “Committee

 Determination Motion”).

            20.   The Committee Determination Motion seeks a determination, among other things,

 that the Term Lenders are oversecured and, to the extent the Term Loan Deficiency Claims exist,

 such claims do not belong in Class 6-B. The Committee supported the Term Lender Determination

 with a valuation of the Debtors that fixed the Debtors’ total enterprise value at $2.94 billion (the

 “Committee Valuation”). Deloitte supports the Committee Determination Motion.




 19138401                                          8
Case 20-32181-KLP         Doc 798    Filed 08/17/20 Entered 08/17/20 15:44:44               Desc Main
                                    Document     Page 9 of 26



                                            OBJECTION

            21.   The Plan cannot be confirmed because it impermissibly classifies the legally and

 factually dissimilar Term Loan Deficiency Claims together with Other General Unsecured Claims

 in Class 6-B in violation of applicable provisions of the Bankruptcy Code. See 11 U.S.C.

 § 1129(a)(1) (plan must comply with “applicable provisions” of the Bankruptcy Code). The Term

 Loan Deficiency Claims are themselves the product of the Debtor Valuation, which undervalues

 the Debtors and appears to afford the Term Lenders recoveries of more than 100% of the amount

 of their claims. Moreover, the Plan discriminates unfairly between similarly situated groups of

 creditors and is not fair and equitable. See id. § 1129 (a)(8)(A), (b)(1).

            22.   Section 1129(a) of the Bankruptcy Code provides that a court may confirm a plan

 “only if” certain requirements are met, including that (i) “[t]he plan complies with the applicable

 provisions of [the Bankruptcy Code],” id. at § 1129(a)(1); and (ii) “[w]ith respect to each class of

 claims or interests . . . such class has accepted the plan, id. at § 1129(a)(8)(A), or “the plan does

 not discriminate unfairly, and is fair and equitable, with respect to each class of claims or interests

 that is impaired under, and has not accepted, the plan,” id. at § 1129(b)(1). As the Plan proponent,

 the Debtors bear the burden of proof with respect to all elements of confirmation of the Plan. See,

 e.g., In re Manchester Oaks Homeowners Ass’n, No. 11-10179-BFK, 2014 Bankr. LEXIS 951, at

 *11 (Bankr. E.D. Va. Mar. 12, 2014) (denying confirmation of plan where debtor did not satisfy

 burden). Because the Debtors cannot meet their burden on any of these elements, the Plan should

 not be confirmed.




 19138401                                          9
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                  Document    Page 10 of 26



 I.         The Plan should not be confirmed because it violates Section 1122 of the Bankruptcy
            Code by classifying dissimilar claims together in order to gerrymander the
            acceptance of Class 6-B and avoid the scrutiny of cram down.

            23.   “The ability to vote on a reorganization plan is one of the most sacred entitlements

 that a creditor has in a chapter 11 case.” In re Adelphia Communs. Corp., 359 B.R. 54, 56 (Bankr.

 S.D.N.Y. 2006). Yet the Plan would effectively eliminate that voting right for Deloitte and the

 other holders of Class 6-B claims by impermissibly classifying the Term Loan Deficiency Claims

 in Class 6-B with the Other General Unsecured Claims. This structure is both unfair and

 antithetical to the fundamental rights of the holders of Other General Unsecured Claims to have a

 meaningful vote as creditors on the Plan. As a result, confirmation should be denied.

            24.   For the Plan to be confirmed, Section 1129(a)(1) requires that it comply with the

 Bankruptcy Code, including inter alia Section 1122. See 11 U.S.C. § 1129(a)(1). In turn, section

 1122 provides that “a plan may place a claim or an interest in a particular class only if such claim

 or interest is substantially similar to the other claims or interests of such class.” 11 U.S.C. § 1122

 (emphasis added).        The analysis of whether classification is appropriate involves two

 considerations. First, the Court reviews the claims to determine whether substantially similar

 claims have been classified together. If they are not substantially similar, it is the end of the

 inquiry: they cannot be classified together. See, e.g., In re Jersey City Med. Ctr., 817 F.2d 1055,

 1060 (3d Cir. 1987) (“The express language of [section 1122] explicitly forbids a plan from placing

 dissimilar claims in the same class.”); Wells Fargo Bank, N.A. v. Loop 76, LLC (In re Loop 76,

 LLC), 465 B.R. 525, 537 (B.A.P. 9th Cir. 2012). Second, even if the claims may be in some ways

 similar, a classification structure cannot be approved where it is designed, as here, to gerrymander




 19138401                                          10
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                 Document    Page 11 of 26



 or manipulate voting. See In re Bryson Props., XVIII, 961 F.2d 496, 498 (4th Cir. 1992)

 (classification cannot be for purpose of manipulating the vote).

            A.    The Term Loan Deficiency Claims are not similar to the remaining Other
                  General Unsecured Claims because they are of a different nature, and their
                  holders have divergent legal and economic rights and motivations in respect
                  of the Plan.

            25.   The Debtors and the Ad Hoc Committee of Term Lenders and IPCo Noteholders

 (the “Ad Hoc Committee”) have argued that because the purported Term Lender Deficiency

 Claims and the non-lender Other General Unsecured Claims are all unsecured claims, they are

 substantially similar and should appropriately be classified together. They are wrong. The

 Bankruptcy Court has “broad latitude” in determining the similarity of claims” and it “need not

 follow some narrow definition.” In re Loop 76, LLC, 465 B.R. at 540 (citing Steelcase Inc. v.

 Johnston (In re Johnston), 21 F.3d 323, 327 (9th Cir. 1994)) (affirming finding that deficiency

 claim supported by guaranty is not substantially similar to unsecured trade claims despite all being

 unsecured claims).

            26.   For example, in In re Durrett, 139 B.R. 1 (Bankr. D.N.H. 1992), a secured lender

 agreed to take back its collateral in satisfaction of its claim and to waive any deficiency claim.

 Like here, the Plan provided for the secured lender to vote its deficiency claim, apparently in order

 to ensure the existence of an impaired accepting class. The Court rejected this structure, finding

 that the secured lender was “influenced by totally different considerations from those motivating

 the other creditors,” and that the disparate treatment of the deficiency claim prevented it from

 being substantially similar to the other unsecured creditors. Id. at 3; see also JER WHTR Servs.,

 Inc. v. Lavin, 213 B.R. 791, 793 (D. Mass. 1997) (where creditor waived his claim, he “was not,

 therefore, eligible to vote”).




 19138401                                         11
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                  Document    Page 12 of 26



            27.   In re City Homes III, LLC is also instructive. There, the plan proponents classified

 together unsecured litigation creditors holding lead poisoning claims against their landlords that

 could access the debtor’s insurance with others creditors holding identical lead poisoning claims

 that were not covered by insurance and were relegated to a minimal fund established by the debtor

 under the plan. See In re City Homes III LLC, 564 B.R. 827, 870 (Bankr. D. Md. 2017). The court

 denied confirmation of the plan, finding that the plan proponents had “wrongfully

 gerrymander[ed]” the voting process by classifying dissimilar claims together and that the plan

 proponents had “engaged in a reverse, inclusive version of” gerrymandering to secure the vote of

 an impaired, accepting class. Id. at 869. Although all of the claimants held identical litigation

 claims, the court found that the claims were “like night and day” as a result of their different

 treatment and thus determined that the claims were not “substantially similar” for purposes of

 Section 1122. Id. at 870. The court further concluded that the dissimilar claimants were classified

 together to ensure the acceptance of the plan by the uninsured claimants and their “overwhelming[]

 support” for release provisions in the plan by way of the dominant strength of the ballots submitted

 by the insured claimants. Id. The Debtors have engaged in the same “reverse, inclusive”

 gerrymandering tactic here, which should doom the Plan.

            28.   Unlike the claims in City Homes, which although found to be dissimilar were all

 were substantively identical, the Term Loan Deficiency Claims and the remaining Other General

 Unsecured Claims have almost no similarities other than that (to the extent the Term Loan

 Deficiency Claims actually exist) they are both unsecured claims. The holders of those claims

 have greatly different rights and motivations, and the claims themselves arose from completely

 different facts, circumstances and relationships with the Debtors. The Other General Unsecured

 Claim holders are vendors, landlords, service providers and holders of claims otherwise generally




 19138401                                          12
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                    Desc Main
                                 Document    Page 13 of 26



 arising in the operation of the Debtors’ business. They did not extend loans to the Debtors, and

 they are not holders of secured funded debt. They are looking to the Plan as their only source of

 recovery. They are motivated to receive at least a reasonable recovery.

            29.   Conversely, the purported Term Loan Deficiency Claims are held by the Term

 Lenders – professional investors – and are the result of a secured lending transaction. They are

 contractually obligated to vote in favor of the Plan as a result of the deal they cut in respect of their

 secured claims. Unlike the Other General Unsecured Creditors, the Term Lenders have driven the

 formulation of the Plan and are parties to the RSA, pursuant to which they negotiated to receive,

 even under the Debtors’ understated Valuation, hundreds of millions of dollars of recoveries.

            30.   Most significantly, the Term Lenders have agreed to waive recoveries on the Term

 Loan Deficiency Claims – they are not even participating in Class 6-B and have no economic

 interest in Class 6-B. Accordingly, their motivations are exactly opposite those of the other holders

 of Class 6-B claims. They are benefitted by paying as little as possible to holders of Other General

 Unsecured Claims, since as the Debtors’ new owners they would benefit from any cash savings.

 Finally, As the future owners of the reorganized enterprise, the Term Lenders “have a different

 stake in the future viability of the reorganized company” that render their claims substantially

 dissimilar from the other Class 6-B holders. See In re U.S. Truck Co., 800 F.2d 581, 587 (6th Cir.

 1986). These substantial differences should preclude common classification with the Other

 General Unsecured Claim holders.

            31.   No doubt, Deloitte expects that the Term Lenders will contend that by waiving the

 Term Loan Deficiency Claims they are providing a benefit to holders of Other General Unsecured

 Claims. In fact, however, the bargain that the Term Lenders have reached under the Plan is so rich

 that the Term Lenders have agreed to forego any distribution on account of their purported Term




 19138401                                           13
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                  Document    Page 14 of 26



 Loan Deficiency Claims – a tacit acknowledgment that their claims are being satisfied through the

 equity grant.

            32.   In short, the classification structure should fail. the Term Loan Deficiency Claims

 and the remaining Other General Unsecured Claims are substantially dissimilar, both in terms of

 the nature of the claims themselves and the position of their holders with respect to the Debtors

 both now and in the future. The classification of those claims together is intended to gerrymander

 the vote in Class 6-B, disenfranchise the holders of Other General Unsecured Claims and evade

 the enhanced scrutiny of the Plan that accompanies the cram-down provisions of Section 1129(b).

 This structure should be rejected.

            B.    The Term Loan Deficiency Claims are also dissimilar from the remaining
                  Other General Unsecured Claims because the Term Lenders are oversecured,
                  so the Term Loan Deficiency Claims do not exist.

            33.   The Term Loan Deficiency Claims are also dissimilar from the other Class 6-B

 claims for an additional reason – they don’t actually exist. The Term Loan Deficiency Claims are

 predicated on a Lazard valuation (the “Debtor Valuation”) that is far too low. More specifically,

 the Debtor Valuation sets the total enterprise value of both J. Crew and Madewell at just $1.84

 billion (up from the $1.75 billion valuation on which the plan was initially based) – total enterprise

 value of approximately $0.40 to $0.52 billion for J. Crew and total enterprise value of

 approximately $1.26 to $1.50 billion for Madewell. Disclosure Statement, Ex. D at p. 2.

            34.   The Committee Determination Motion filed by the Committee, which seeks to

 disallow the Term Loan Deficiency Claims under Section 506(a) of the Bankruptcy Code, gets it

 right. It is supported by the Committee Valuation, which remedies a number of significant

 deficiencies that plague the Debtor Valuation.         First, the Debtor Valuation assumes that

 Madewell’s growth will decrease dramatically after 2024, from the rapid growth rate projected in

 the Disclosure Statement projections (Disclosure Statement, Ex. B.) to a significantly lower


 19138401                                         14
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                  Desc Main
                                  Document    Page 15 of 26



 number in 2025 and extending into perpetuity. These growth assumptions materially undervalue

 Madewell, defy common sense and do not reflect economic reality. The Committee Valuation

 employs a more logical methodology that steps down the growth over a period of years extending

 beyond 2024. Second, the weighted average cost of capital (WACC) in the Debtors’ discounted

 cash flow valuation is too high as a result of temporary COVID-related volatility and because the

 Debtors overstate the risk premium that investors require for equity investment. Third, the Debtors

 have chosen inappropriate comparable companies – including low-growth companies and

 excluding certain companies with high growth projections, like Madewell. These inappropriate

 comparable companies carry with them lower growth projections and valuation multiples, which

 have the effect of substantially depressing the Debtors’ value. Deloitte believes that the Committee

 Valuation, which corrects for these points, more accurately reflects the true value of the Debtors.

            35.   In this way, too, the Term Loan Deficiency Claims – which are illusory – could not

 be more dissimilar from the other, entirely legitimate claims in Class 6-B. Accordingly, the Plan’s

 classification structure violates Section 1122 of the Bankruptcy Code and renders the Plan

 unconfirmable.

            C.    The classification scheme is designed to manipulate class voting in order to
                  ensure the acceptance of Class 6-B and avoid having to satisfy the cram down
                  standards of Section 1129(b).

            36.   There is a second consideration to the analysis, which the Plan fails because of its

 attempt to artificially distort the vote through gerrymandering. See In re Loop 76, LLC, 465 B.R.

 at 537 (plan cannot be approved in the face of gerrymandered acceptance). In applying section

 1122, the Fourth Circuit has held that “[i]f the plan unfairly creates too many or too few classes,

 if the classifications are designed to manipulate class voting, or if the classification scheme violates

 basic priority rights, the plan cannot be confirmed.” In re Bryson Props., XVIII, 961 F.2d at 502

 (quoting Olympia & York Fla. Equity Corp. v. Bank of N.Y. (In re Holywell Corp.), 913 F.2d 873,


 19138401                                          15
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                 Document    Page 16 of 26



 880 (11th Cir. 1990)) (remanding confirmation of plan for improper claims classification).

 Moreover, the classification of claims “clearly for the purpose of manipulating voting . . . may not

 stand.” Id. Instead, classification of claims “may only be undertaken for reasons independent of

 the debtor’s motivation to secure the vote of an impaired, assenting class of claims.” In re

 Manchester Oaks Homeowners Ass’n, 2014 Bankr. LEXIS 951, at *17-19 (denying confirmation

 because “[t]he Court finds that the Debtor has separately classified the [] claim solely in an effort

 to gain the affirmative vote of an impaired class of claims” and because “the separate classification

 of this claim constitutes impermissible gerrymandering.”) (citation omitted).

            37.   The Debtors have classified the Term Loan Deficiency Claims, which are receiving

 no recovery from Class 6-B, as part of the Other General Unsecured Claims. This classification

 is meant to manipulate the vote in order to ensure approval of the Plan by Class 6-B, thus

 disenfranchising the non-Lender holders of Other General Unsecured Claims. The vote of Class

 6-B is hugely consequential. Having proposed a Plan that (i) provides Class 6-A with potentially

 100 times the percentage recovery as it does Class 6-B and (ii) that apparently pays the Term

 Lenders more than in full, the Debtors will need to establish compliance with the cram down

 requirements set forth in section 1129(b) – which they will not be able to do – if Class 6-B votes

 to reject the Plan.

            38.   Holders of Term Loan Deficiency Claims are receiving no distribution on account

 of their claims, irrespective of where those claims are classified. If the Debtors did not want to

 classify the Term Loan Deficiency Claims in their own class, the Debtors could have just as easily

 classified the Term Loan Deficiency Claims in Class 6-A, since doing so would at least have

 classified all unsecured claims with an interest in the future viability of the Debtors in the same

 class. Likewise, the Debtors could have put all of the Term Lenders’ claims in one single class,




 19138401                                         16
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                 Document    Page 17 of 26



 as they did with respect to the claims of the IPCo Lenders. Rather than any of these more rational

 approaches, however, the Debtors chose to classify the Term Loan Deficiency Claims with the

 remainder of the Other General Unsecured Claims in a transparent attempt to squelch any dissent

 from Class 6-B and ensure that it accepts the Plan. The Fourth Circuit has clearly spoken: such

 manipulation “may not stand.” In re Bryson Properties, XVIII, 961 F.2d at 502; In re Manchester

 Oaks Homeowners Ass’n, 2014 Bankr. LEXIS 951, at *14 (the “classification of this claim

 constitutes impermissible gerrymandering.”).

            39.   While there are cases, including those cited by the Ad Hoc Committee in support

 of approval of the Disclosure Statement, that counsel in favor of classifying deficiency claims with

 the remainder of general unsecured claims, those cases are distinguishable on the facts, and their

 holdings actually support Deloitte’s argument that voting should not be manipulated to silence

 economic stakeholders. See Omnibus Reply of the Ad Hoc Committee to Objections to the Debtors’

 Motion Seeking Approval of the Disclosure Statement [Docket No. 536] (the “Ad Hoc Committee

 Reply”) at ¶¶ 10-13. First, in each of the cases cited by the Ad Hoc Committee, the debtor owned

 a single real estate asset and was seeking to separately classify the deficiency claim of its secured

 lender to disenfranchise the secured lender and obtain an impaired, accepting class so that cram

 down of the Plan was possible. See In re Bryson Props., XVIII, 961 F.2d 496, 498 (4th Cir. 1992)

 (“[The debtor’s] sole asset is a complex of three commercial buildings in Omaha, Nebraska, known

 as “Mid-America Plaza.”); Barakat v. Life Ins. Co. of Va. (In re Barakat), 99 F.3d 1520, 1522 (9th

 Cir. 1996) (“title to the Kittridge property was consolidated in [the debtor] and his wife”); Bos.

 Post Rd. Ltd. P’ship v. FDIC (In re Bos. Post Rd. Ltd. P’ship), 21 F.3d 477, 478 (2d Cir. 1994)

 (“[The debtor] was formed in 1984 to acquire and manage a residential and office complex located

 in Waterford, Connecticut.”); John Hancock Mut. Life Ins. Co. v. Route 37 Bus. Park Assocs., 987




 19138401                                         17
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                  Document    Page 18 of 26



 F.2d 154, 155 (3d Cir. 1993) (“The [debtor’s main asset is an industrial and commercial park

 located on Route 37 in Toms River, New Jersey.”); In re Lumber Exch. Bldg. Ltd. P’ship, 968 F.2d

 647, 648 (8th Cir. 1992) (“[The debtor] was formed to acquire, renovate, and own as an investment

 the Lumber Exchange Building, located in Minneapolis.”); In re Greystone III Joint Venture, 995

 F.2d 1274, 1276 (5th Cir. 1991) (lender provided funds for debtor to purchase office building).

            40.   Here, however, the Debtors are not classifying the Term Loan Deficiency Claims

 along with the Other General Unsecured Claims to cram down a plan over the objection of their

 secured lender but, rather, to disenfranchise the holders of Other General Unsecured Claims and

 avoid having to meet the cram down requirements at all. This manipulation of classes to effectuate

 voting is even more apparent considering that holders of the Term Loan Deficiency Claims, despite

 being classified as Other General Unsecured Claims, have agreed to their treatment elsewhere in

 the Plan, and the Plan provides that the Term Lenders will not participate in the class.

            41.   Second, even cases cited by the Ad Hoc Committee recognize that a debtor’s

 proposed classification must be supported by business and economic reasons and must not be for

 the purpose of manipulating the vote. See, e.g., In re Bryson Props., XVIII, 961 F.2d at 502 (“If

 the plan unfairly creates too many or too few classes, if the classifications are designed to

 manipulate class voting, or if the classification scheme violates basic priority rights, the plan

 cannot be confirmed.”). As suggested in Bryson, the Debtors have created “too few” classes here.

 There is no other justification for the classification scheme other than to manipulate the vote to

 ensure that Class 6-B accepts the Plan. Accordingly, the Plan cannot be confirmed.

 II.        The Debtors will be unable to satisfy the requirements for cram down of the Plan.

            42.   If the Plan were structured in a manner that is fair and consistent with the

 classification requirements of the Bankruptcy Code, Class 6-B would likely vote to reject the Plan.




 19138401                                        18
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                  Desc Main
                                  Document    Page 19 of 26



 In that case, the Plan would be subjected to additional scrutiny, and the Debtors would be required

 to demonstrate compliance with the Bankruptcy Code’s cram down provisions. Pursuant to section

 1129(b)(1), the Debtors may only confirm a plan without the unanimous consent from all impaired

 classes “if the plan does not discriminate unfairly, and is fair and equitable, with respect to each

 class of claims or interests that is impaired under, and has not accepted, the plan.” 11 U.S.C.

 § 1129(b)(1). Because these are standards the Debtors cannot meet, the Plan cannot be confirmed.

            A.    The Plan unfairly discriminates among similarly-situated creditors by
                  providing for recoveries to Class 6-A creditors that are as much as 100 times
                  the recoveries provided for Class 6-B creditors.

            43.   The Plan is unconfirmable because it “discriminate[s] unfairly” against the holders

 of Other General Unsecured Claim.          See 11 U.S.C. § 1129(b)(1) (emphasis added).            The

 discrimination is significant – holders of Class 6-A claims are set to receive as much as 100 times

 the recovery of holders of substantively identical claims in Class 6-B.

            44.   “One of the major themes of bankruptcy administration is equality of distribution

 among similarly-situated creditors.” In re Cook, No. 06-11627-SSM, 2007 Bankr. LEXIS 2613,

 at *6 (Bankr. E.D. Va. July 31, 2007). When, as here, “a debtor uses money that belongs to the

 estate to pay certain creditors, but not others, the policy of equal distribution is violated.” Id. This

 policy is at the heart of the requirement under Section 1129(b)(1) that the Plan not “discriminate

 unfairly” against holders of claims.

            45.   Courts in the Fourth Circuit apply a four-part test for determining whether a plan

 “unfairly discriminates”: (1) whether there is a reasonable basis for the discrimination; (2) whether

 the plan can be confirmed and consummated without the discrimination; (3) whether the

 discrimination is proposed in good faith; and (4) the treatment of the classes discriminated against.

 In re Sutton, No. 10-10539-8-RDD, 2012 Bankr. LEXIS 752, at *7-8 (Bankr. E.D.N.C. Feb. 9,

 2012) (denying confirmation because debtor failed to prove that the plan “does not unfairly


 19138401                                          19
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                 Document    Page 20 of 26



 discriminate”) (citing Ownby v. Jim Beck, Inc. (In re Jim Beck, Inc.), 214 B.R. 305, 307 (W.D. Va.

 1997) (applying same four-part test), aff’d, 162 F.3d 1155 (Table) (4th Cir. 1998)); Gorman v.

 Birts (In re Birts), No. 1:12cv427 (LMB/TCB), 2012 U.S. Dist. LEXIS 107811, at *4-17 (E.D.

 Va. Aug. 1, 2012) (reversing plan confirmation due to unfair discrimination). The Debtors have

 failed to demonstrate that the Plan satisfies any part of this test.

            46.   There is no “reasonable basis” for the discrimination between Class 6-A and Class

 6-B, and common sense suggests that the plan could be confirmed absent such substantial (or any)

 discrimination. The Debtors will likely argue that the agreement by the holders of Class 6-A

 claims to continue doing business with the Debtors after emergence from bankruptcy provides

 sufficient justification for the discriminatory treatment and facilitates confirmation of the Plan.

 That argument is a makeweight. The Debtors obtained the right, outside of the Plan process, to

 placate their critical trade creditors by paying their claims in the ordinary course of business – up

 to $20 million – and to satisfy all section 503(b)(9) and lien claims in the ordinary course of

 business (estimated to be another $40 million). See Final Order (I) Authorizing Debtors to Pay

 Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming Administrative

 Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.

 384]. In total, as much as $60 million has already been approved to ensure smooth relationships

 with the Debtors’ important vendors. The Debtors have articulated no need to heap further rewards

 on these selected vendors.

            47.   Moreover, basic common sense dictates that rich rewards are not required to induce

 vendors to continue doing business with the reorganized Debtors or to support the Plan. The

 reorganized company will have substantial liquidity and an improved balance sheet. These

 vendors presumably intend to earn a profit on their work for the Debtors and, if they were to act




 19138401                                           20
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                 Document    Page 21 of 26



 in an economically rational way, they would welcome the opportunity to continue working with

 the Debtors post-emergence, since the outstanding amounts are now sunk costs. Continued

 engagement with the Debtors after the effective date is in their own interests, even without taking

 a disproportionately high recovery on their claims. The Debtors have articulated no basis to

 suggest persuasively that the Plan would fail if all holders of unsecured claims were treated alike.

 Accordingly, this discrimination has no “reasonable basis” and is not necessary to effectuate the

 reorganization.

            48.   The extent of the discrimination further suggests that the Plan discriminates

 unfairly. Courts place special emphasis on the “disparate treatment” of similar claims factor. See

 In re Health Diagnostic Lab., Inc., 551 B.R. 218, 229-30 (Bankr. E.D. Va. 2016). “[C]ourts often

 conclude that a plan is unfairly discriminatory when there is a large discrepancy in the percentage

 recovery between similarly situated creditors.” In re Sea Trail Corp., No. 11-07370-8-SWH, 2012

 Bankr. LEXIS 4985, at *26-28 (Bankr. E.D.N.C. Oct. 23, 2012) (citing In re Tuscon Self-Storage,

 Inc., 166 B.R. 892 (9th Cir. BAP 1994) (finding unfair discrimination when plan provided 100%

 recovery for unsecured trade creditors and 10% to deficiency claim)); In re Sentry Operating Co.

 of Tex., Inc., 264 B.R. 850, 863-64 (Bankr. S.D. Tex. 2001) (finding unfair discrimination when

 plan provided for 100% recovery for one class of unsecured creditors and 1% recovery to another

 class of unsecured creditors); In re Barney & Carey Co., 170 B.R. 17 (Bankr. D. Mass. 1994)

 (finding unfair discrimination when plan paid deficiency claims 100% over ten years and paid

 trade creditors only 15% of claims within ninety days); In re Aztec Co., 107 B.R. 585, 589 (Bankr.

 M.D. Tenn. 1989) (finding unfair discrimination when plan paid insider unsecured claims in full

 while paying nonrecourse deficiency claim only 3%)).




 19138401                                        21
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                 Desc Main
                                  Document    Page 22 of 26



            49.   Here, the holders of Class 6-B claims, whose claims rank pari passu with those of

 the holders of Class 6-A claims, will share in a pot of between $1-3 million (estimated to result in

 0.5-1.6% in recoveries), while holders of Class 6-A claims will share in a pot of $71 million

 (estimated to result in 50% recoveries). Those same creditors, as discussed above, will receive (or

 likely have received) at least $20 million, and potentially as much as $60 million, in additional

 payments under the Vendor Order, for a total of as much as $131 million in recoveries. Those

 creditors will also have a paying, financially healthy customer going forward. When compared to

 the $1-3 million, total, afforded to other the Other General Unsecured Claims (a total of at most

 1.6%), which have identical legal rights and substantially similar claims, the extent of the

 discrimination is far too large to be justified.

            50.   For these reasons, the Plan unfairly discriminates against the Other General

 Unsecured Claims, and the Plan should not be confirmed.

            B.    The Plan is not fair and equitable because it is premised on an improperly
                  understated valuation of the Debtors and pays the senior lenders more than in
                  full on their claims.

            51.   To satisfy the “fair and equitable” standard with respect to a class of non-accepting

 creditors, the Plan must also comply with the absolute priority rule with regard to such class. See,

 e.g., Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 207 (1988); In re MCorp. Fin., Inc., 137

 B.R. 219, 234-35 (Bankr. S.D. Tex. 1992) (“According to the absolute priority rule, a plan must

 provide that an impaired non-accepting class of creditors be paid in full with respect to their claims,

 or that no interest junior to that class receive any distributions under the plan with respect to the

 junior claimants’ prepetition claims or interest.”). A critical and highly relevant corollary of the

 absolute priority rule is that a senior class cannot receive more than full compensation for its

 claims. See, e.g., In re MCorp. Fin., Inc., 137 B.R. at 235 (the court needs to ensure, in “applying




 19138401                                           22
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                  Document    Page 23 of 26



 the ‘fair and equitable’ standard contained in § 1129(b) . . . that no class senior to the dissenting

 class will receive more than full compensation for its claims or interests”); In re Walat Farms,

 Inc., 70 B.R. 330, 335 (Bankr. E.D. Mich. 1987) (it “would do violence to the ‘fair and equitable’

 standard by paying [the creditor] more than its claim”).

            52.    Where, as here, a class of unsecured creditors is being paid less than in full, “a

 valuation is required to make sure that the senior classes of claims are not being provided for more

 than in full.” In re MCorp. Fin., Inc., 137 B.R. at 235. The Debtors did prepare such a valuation,

 but it is significantly understated and unreliable. The Committee Valuation – which is more

 reliable and fixes numerous deficiencies plaguing the Debtor Valuation – indicates that the Term

 Lenders will receive value in excess of the amount of their claims under the Plan. On this basis,

 too, the Plan should fail.

 III.       The distributions, by Debtor, in Class 6-B should be reallocated to reflect the actual
            amount of allowed claims at each Debtor.

            53.    The Plan provides that “each holder of an Allowed Other General Unsecured Claim

 will receive, on the Effective Date, its Pro Rata share of the cash pool allocated to each Debtor as

 set forth” in Section 4.7(b) (emphasis added). Section 4.7(b) provides for specific amounts to be

 allocated to creditors of each Debtor, with amounts ranging between $350 and $1,666,450

 (assuming the Plan is accepted). The Debtors apparently have allocated those amounts based on

 the anticipated claims asserted at each Debtor in order to engineer a consistent recovery of less

 than 1.6% at each debtor. Disclosure Statement, p. 6. In furtherance of that apparent goal, the

 Debtors reserve the somewhat amorphous right to reallocate the Class 6-B recoveries among the

 Debtors “in their reasonable business judgement, to recalibrate for, among other things, the Claims

 asserted against each Debtor.” Plan § 4.7(b).




 19138401                                          23
Case 20-32181-KLP          Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                  Document    Page 24 of 26



            54.   In allocating the amounts to be distributed in Class 6-B, the Debtors should be

 required to take into account the actual amounts due on account of claims against each of the

 Debtors, as determined in the claims resolution process. Just by way of example, holders of claims

 against J. Crew Group, Inc. are projected to recover a total of just $300, assuming acceptance of

 the Plan by Class 6-B.        To the extent valid claims exist against that Debtor exceeding

 approximately $18,750, that amount will be insufficient to produce a recovery of approximately

 1.6%.

            55.   Any allocation should likewise take into account that certain creditors – including

 Deloitte – have claims against more than one Debtor. Absent substantive consolidation, which

 the Debtors are not expressly seeking and for which there is no factual basis that has been

 disclosed, a party with claims against multiple debtors is entitled to a recovery from each of the

 Debtors against which it hold allowed claims, up to full satisfaction of the creditor’s claim

 (which obviously will not happen here). The language of Plan section 4.7(b) appears to provide

 for this reality in concept (providing allowed claims to receive distributions from “each Debtor”),

 but the cash allocation must reflect it as well, and the right of claimants with valid claims against

 multiple Debtors must be preserved.




 19138401                                         24
Case 20-32181-KLP         Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                Desc Main
                                 Document    Page 25 of 26



                                           CONCLUSION

            WHEREFORE, DELOITTE respectfully requests that the Court (i) deny approval of the

 Plan; and (ii) grant Deloitte such other and further relief as is just and proper.

   Dated:          Washington D.C.               By: /s/ John D. Taliaferro
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 19138401                                          25
Case 20-32181-KLP        Doc 798 Filed 08/17/20 Entered 08/17/20 15:44:44                  Desc Main
                                Document    Page 26 of 26




                                  CERTIFICATE OF SERVICE

 I hereby certify that on this 17th day of August 2020, a copy of the foregoing was served through
 the Court’s EM/ECF system on all parties receiving notices in these cases. I also certify that a copy
 of the foregoing was served by email on the Parties identified on the most recent Master Service
 List.


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